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 5   Attorney for Defendant
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 6

 7                                 UNITED STATES DISTRICT COURT

 8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                     )   Case No.: Cr.S-12-0238-MCE
10   United States of America,                       )
                                                     )
11                    Plaintiff,                     )   STIPULATION TO CONTINUE
                                                     )   STATUS CONFERENCE
12          vs.                                      )
                                                     )
13   Eric Johnston,                                  )
                                                         DATE: November 21, 2013
                                                     )
14                    Defendant                      )   TIME: 9:00 a.m.
                                                     )   JUDGE: Hon. Morrison E. England, Jr.
15                                                   )
                                                     )
16

17

18          Counsel for Eric Johnston still needs additional time for ongoing negotiations. Therefore,

19   it is requested that the Status Conference set for November 21, 2013 at 9:00 a.m. be continued to

20   December 12, 2013 at 9:00 a.m.. I have spoken to AUSA Kyle Reardon who agrees to this

21   request and further agrees that I may sign his name to it.

22                                            STIPULATION

23          Plaintiff, United States, and Defendant, Eric Johnston, through their undersigned counsel,

24   hereby stipulate and agree that the Court may re-set the date for the Status Conference to

25   December 12, 2013 at 9:00 a.m. The parties further stipulate that time may be excluded from the




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 1   Speedy Trial Act calculation from and including the date of November 21, 2013, the date

 2   currently set for the Status Conference, to and including December 12, 2013, the new Status

 3   Conference date, pursuant to 18 U.S.C. §3161 (h)(7)(A) and (B)(iv) and Local Code T4 in order

 4   to give Counsel for the Defendants reasonable time to prepare. The parties stipulate that the ends

 5   of justice to be served by granting the continuance outweigh the best interests of the public and

 6   defendants in a speedy trial.

 7   IT IS SO STIPULATED.

 8
     DATED:         November 19, 2013                      BENJAMIN B. WAGNER
 9                                                         United States Attorney
10
                                                           /s/ Kyle Reardon
11                                                         by Jan David Karowsky w/
                                                           Mr. Reardon’s approval
12                                                by
                                                           Kyle Reardon
13                                                         Assistant U.S. Attorney

14

15   DATED:         November 19, 2013                      JAN DAVID KAROWSKY
                                                           Attorney at Law
16
                                                           A Professional Corporation
17
                                                           /s/ Jan David Karowsky
18
                                                  by
19                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
20                                                         Eric Johnston

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                                                     ORDER
 1

 2           Based on the stipulation of the parties and good cause appearing therefrom, the Court
 3
     hereby finds that the failure to grant a continuance of the date now set for a Status Conference in
 4
     this case would deny respective counsel for both parties reasonable time necessary for effective
 5
     preparation, taking into account the exercise of due diligence. The Court specifically finds that
 6
     the ends of justice served by the granting of such a continuance outweigh the interests of the
 7
     public and the defendant in a speedy trial and that the time within which the trial of this matter
 8
     must be commenced under the Speedy Trial Act is excluded during the time period from and
 9

10
     including November 21, 2013, through and including December 12, 2013, pursuant to 18

11   U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.

12           Based on these findings and pursuant to the stipulation of the parties, the Court hereby

13   adopts the stipulation of the parties in its entirety as its order.

14
             IT IS SO ORDERED.
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     Dated: November 19, 2013
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